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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

 DUGAN LAW FIRM, APLC                                       CIVIL ACTION
 VERSUS                                                     NO: 21-1106
 KURTZMAN CARSON                                            SECTION: "B"(4)
 CONSULTANTS, LLC


                               SCHEDULING ORDER

       A Scheduling Conference was held by telephone on September 13, 2022.

       Participating were:

       For Plaintiff: Katherine Roth and Nicholas Varisco

       For Defendants: Carol Reisman, Melanie Derefinko and Nora Bilbro

       Pleadings have been completed. Jurisdiction and venue are established.

       All case-dispositive pre-trial motions, along with motions in limine regarding the
admissibility of expert testimony, shall be filed and served in sufficient time to permit
hearing thereon no later than March 29, 2023. This Section adheres to Local Rule 78.1
regarding oral argument on motions. All other motions in limine shall be filed no later
than April 24, 2023. Any motions filed in violation of this order shall be deemed waived
unless good cause is shown. When a contested substantive pre-trial motion is
being heard orally, the parties shall submit, simultaneously with the hard
copy required by Local Rule 7.1, a copy of the motion, memorandum in
support, memorandum in opposition and reply memorandum on a flash
drive in Word format. All flash drives shall be returned to counsel after the
hearing on the motion upon request.

       Counsel shall complete all disclosure of information as follows:

       All parties have stipulated that initial disclosures pursuant to Fed. R. Civ. P.
26(a)(1) will not be conducted in this case.

        Depositions for use at trial shall be taken and all discovery shall be completed no
later than April 4, 2023.

      Amendments to pleadings, third-party actions, cross-claims and counter-claims
deadline has passed.



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      Counsel adding new parties subsequent to mailing of this Notice shall serve on
each new party a copy of this Order.

       Responsive pleadings shall be filed within the applicable delays.

      Written reports of experts, as defined by Federal Rules of Civil Procedure
26(a)(2)(B), who may be witnesses for plaintiff fully setting forth all matters about which
they will testify, and the basis therefor shall be obtained and delivered to counsel for
defendant as soon as possible, but in no event later than February 3, 2023.

       Written reports of experts, as defined by Federal Rules of Civil Procedure
26(a)(2)(B), who may be witnesses for defendant fully setting forth all matters about
which they will testify, and the basis therefor shall be obtained and delivered to counsel
for plaintiff as soon as possible, but in no event later than March 6, 2023.

       The parties shall file in the record and serve upon their opponents a list of all
witnesses who may or will be called to testify at trial, and all exhibits that may or will be
used at trial no later than March 6, 2023.

      The Court will not permit any witness, expert or fact, to testify or any exhibits to
be used unless there has been compliance with this Minute Entry as it pertains to the
witness and/or exhibits, without an order to do so issued on motion for good cause shown.

      This case does not involve extensive documentary evidence, depositions or other
discovery. No special discovery limitations beyond those established in the Federal Rules
or Local Rules of this Court are established.

       A settlement conference will be scheduled at any time at the request of the parties
to this action. However, the parties must attend a settlement conference with the
assigned magistrate judge. The parties are instructed to contact the assigned
magistrate judge at least six weeks prior to the pretrial conference date for
the purpose of scheduling a settlement conference which should be held
within three weeks prior to the pretrial conference.

       A final Pre-trial Conference will be held before the District Judge on May 4, 2023,
at 2:00 p.m. Counsel will be prepared in accordance with the final Pre-Trial Notice
attached.

       On or before five (5) working days prior to the trial date, counsel for all parties are
to prepare and submit joint proposed special jury charges and jury interrogatories. If a
party objects to a proposed charge or interrogatory, that party shall note the objection in
a footnote to the proposed charge or interrogatory and cite to any legal authority in
support of the objection. Counsel shall submit an original and one copy of the proposed
charges and interrogatories to Chambers. In addition, the proposed charges and
interrogatories shall be submitted on a flash drive in Word format, which shall be
returned to counsel after trial upon request.


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        Trial will commence on May 15, 2023, (or any time during that week) at 8:30
a.m. before the District Judge with a jury. Attorneys are instructed to report for trial no
later than 30 minutes prior to this time. Trial is estimated to last 5 days.

       Deadlines, cut-off dates, or other limits fixed herein may only be extended by the
Court upon timely motion and upon a showing of good cause. Continuances will not
normally be granted. If, however, a continuance is granted, deadlines and cut off dates
will be extended automatically, unless otherwise ordered by the Court.

                                                 IVAN L. R. LEMELLE
                                                 UNITED STATES DISTRICT JUDGE
                                                 ISSUED FOR THE COURT BY:
                                                 Dena White, Deputy Clerk
                                                 (504) 589-7719


NOTE: ON THE MORNING OF TRIAL, COUNSEL ARE TO FURNISH THE
COURTROOM DEPUTY WITH: (1) A LIST OF ALL WITNESSES THAT WILL
BE CALLED DURING TRIAL; (2) A LIST OF ALL EXHIBITS THAT ARE TO BE
OFFERED DURING TRIAL. EXHIBITS ARE TO BE PRE-MARKED AND
NUMBERED IN ACCORDANCE WITH THE EXHIBIT LIST. ALL EXHIBITS
TO BE ADMITTED INTO THE RECORD SHALL BE CLEAN, CLEAR COPIES
AND 8 ½ X 11 OR 8 ½ X 14. IF LARGER, I.E., BLOWUPS, POSTERS, LARGER
PHOTOS,     ETC.,   THESE      SHOULD      BE  REDUCED    TO    THE
AFOREMENTIONED SIZE FOR THE RECORD. COUNSEL TO READ ALL OF
THE ATTACHED DOCUMENTS THOROUGHLY.




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